Case 2:22-cv-00468-JLB-KCD Document 1-5

JS 44 (Rev. 04/21)

purpose of initiating the civil docket sheet.

Filed 08/03/22 Page 1 of 1 PagelD 138

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

NORMA OLIVER, THOMAS OLIVER

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

Charlotte

DEFENDANTS

JOSEPH L. MICHAUD, DOUGLAS H. SMITH, MATTHEW

H. MICHAUD. ALYSSA L. PARENT. et al.
County of Residence of First Listed Defendant Bristol
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION COSES. USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

Attorneys (if Knowa)

Hl, BASIS OF JURISDICTION (Place an “x

("in One Box Only)

IH. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an “X” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)

DIL US. Government ([]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [<}! =F) 1 Incorporated or Principal Place O+4 4
of Business In This State
(2 US. Government [=]4 Diversity Citizen of Another State (2 = [x] 2. Incorporated and Principal Place [] 5 [)5
Defendam (indicate Citizenship of Parties in Hent Hl of Business In Another State
Citizen or Subject ofa C33) C7 3 Foreign Nation Cle (Cs
Foreign Country
IV. NATURE OF SUIT (piace an “x” in One Bax Ontv) Click here for: Nature of Suit Code Descriptions,
[ CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES]
1L0 Insurance PERSONAL INJURY PERSONAL INJURY -) 625 Drug Related Seizure 422 Appeal 28 USC 158 375 Fatse Claims Act
120 Marine H 310 Airplane oO 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability _] 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability (7) 367 Health Cares INTELLECTUAL 400 State Reapportionment
oO 150 Recovery of Overpayment 320 Assauli, Libel & Pharmaceutical PROPERTY RIGHTS |] 410 Antitrust
& Enforcement of Judg Stand Personal Injury 820 Copyrights 430 Banks and Banking
H 151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability 0 36% Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced und
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Cornupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR $80 Defend Trade Secrets | 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[] 160 Stockholders’ Suits 355 Motor Vehicle H 371 Truth in Lending Act |] 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal |] 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability ] 360 Other Personal Property Damage Relations 861 HIA (1395 490 Cable/Sat TV
196 Franchise Injury oO 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Sceuritics/Commoaditics/
362 Personal Lnjury - Product Liability 751 Family and Medical 863 DIVC/DIWW (405(z)) Exchange

Medical Malpractice

REAL PROPERTY

CIVIL RIGHTS

PRISONER PETITIONS

Leave Act
790 Other Labor Litigation

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
290 All Other Real Property

440 Other Civil Rights

441 Voting

442 Employment

443 Housing/
Accommodations

445 Amer. w/Disabilities -
Employment

446 Amer. w/Disabilities -
Other

448 Education

Habeas Corpus:
463 Alien Detaince
510 Motions to Vacate
Sentence
T] $30 General
|_| 535 Death Penalty
Other:
540 Mandamus & Other
550 Civil Rights
555 Prison Condition
$60 Civil Detainee -
Conditions of

Confi

|_| 791 Employee Retirement

864 SSID Title XVI
[_] 865 RSI (405(g))

890 Other Statutory Actions
891 Agricultural Acts
893 Environmental Matters

Income Security Act

IMMIGRATION

E' ITS

895 Freedom of Information

|_— FEDERAL TAX SU)

|_| 870 Taxes (U.S. Plaintiff
or Defendant)

[_) 871 IRS—Third Party
26 USC 7609

462 Naturalization Application
465 Other Immigration
Actions

Act
896 Arbitration
899 Administrative Procedure
ActReview or Appeal of
Agency Decision
| 950 Constitutionality of
State Statutes

V. ORIGIN (Place an “X" in One Box Only)

1 Original
G4 Proceeding

2 Removed from
State Court

3. Remanded from
Appellate Court

o4 Reinstated or Ol 5 Transferred from
Another District

(specify)

Reopened

Transfer

6 Multidistrict
Litigation -

oO 8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

28 U.S. Code § 1332

Cite the U.S. Civil Statute under which you are filing (Do nor cite jurisdictional statutes unless diversity):

Bricf description of causc:
TORTIOUS CONDUCT

VII. REQUESTED IN

COMPLAINT:

() CHECK IF THIS

IS A CLASS ACTION

UNDER RULE 23, F.R.Cv.P.

DEMAND $
1,613,672.28

CHECK YES only if demanded in complaint:

JURY DEMAND:

Elves (No

VIN. RELATED CASE(S)

(See instructions):
IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
8-1-22 s/Thomas Oliver
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

